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Case 8:13-cv-OlOll-.]VS-AN Document 1 Filed 07/05/13 Page 1 of 9 Page |D #:2

 

  
  
 

Amy L. Bennecoff (275805)

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Klmmel & Sllverman, P.C. "'““"'”""‘°“" _'.'

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Ambler, PA 19002
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Attorney for Plaintiff

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

ROYOLWER» . - g §Wm m Q;UMS 109
Plaintiff, ) CQMPLAINT FoR“D:AMAGES
) 1. vloLATIoN 0F THE FAIR
v. . ) DEBT COLLECTION PRACTICES

) ACT, 15 U.S.C. §1692 ET. SEQ.;
ALLIED INTERSTATE, LLC f/k/a ) 2. VIOLATION 0F THE
ALLIED INTERSTATE, INC., ) ROSENTHAL FAIR DEBT
' , ) COLLECTION PRACTICES ACT,
Defendant. ) CAL. CIV. COI)E §1788 ET. SEQ.

)
) JURY TRIAL DEMANDED

)
COMPLAINT
ROY OLIVER (“Plaintiff’), by his attorneys, KIMMEL & SILVERMAN,
P.C., alleges the following against Defendant ALLIED INTERSTATE, LLC f/k/a

ALLIED INTERSTATE, INC. (“Defendant”):

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Case 8:13-cv-01011-.]VS-AN Document 1 Filed 07/05/13 Page 2 of 9 Page |D #:3

INTRODUCTION
1. Plaintiff’ s Complaint is based on the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), the TelephoneConsurner Protection
Act, 47 U.S.C. § 227 et seq. (“TCPA”), and the Rosenthal Fair Debt Collection
Practices Act, cal. Civ. Code § 1788, et. seq. (“RFDCPA”), Which prohibit debt

collectors from engaging in abusive, deceptive, and unfair practices.

JURISDICTION AND VENUE

2. Jurisdiction of this court arises pursuant to 15 U.S.C. § l692l<(d),

l Which states that such actions may be brought and heard before “any appropriate

United States district court Without regard to the amount in controversy,” and 28
U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
under the laws of the United States.

3. Defendant conducts business in the State of-California; and therefore,
personal jurisdiction is established

4. l Venue is proper pursuant to 28 U.S.C. § l39l(b)(2).

PARTIES

5. Plaintiff is a natural person residing in Anaheirn, California.

6. Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

§1692a(3) ' nd is a “debtor” as defined by Cal. Civ. Code §l788.2(h).

 

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Case 8:13-cv-01011-.]VS-AN Document 1 Filed 07/05/13 Page 3 of 9 Page |D #:4

7. Defendant is a corporation specializing in debt collection With its
principal place of business located at 335 Madison Ave, 27th Floor, NeW York,
NeW York 10017.

8. _Defendant is a “debt collector” as that term is defined by 15 U.S.C.
§1692a(6), and RFDCPA, Cal. Civ. Code §1788.2(0).

9. Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers

FACTUAL ALLEGATIONS

10. At all relevant times, Defendant Was acting to collect an alleged
consumer debt from Plaintiff as the term is defined by the FDCPA at 15 U.S.C. §
l692a(5) and the RFDCPA at Cal. Civ. Code §1788.2(1`).

11. The alleged debt arose out of transactions Which Were primarily for
personal, family, or household purposes.

12. As Plaintiff owes no business debt, the debt sought by Defendant
could only have been personal in nature.

13. Between June 2012 and August 2012, Defendant’s collectors made
repeated harassing calls to Plaintif`F s cellular telephone regarding the alleged debt.

14. Defendant’s telephone calls originated from numbers including, but

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vriot limited to: (888) 310-0088. T`ne undersigned has confirmed that this number

 

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Case 8:13-cv-01011-.]VS-AN Document 1 Filed 07/05/13 Page 4 of 9 Page |D #:5

belongs to Defendant.

15. Plaintiff regularly received two (2) to three (3) calls per day from
Defendant.

16. Defendant’s collectors initiated contacted Plaintiff as late as 9:00 PM.

17. Upon information and belief, Defendant used a pre-recorded or
artificial voice to initiate these calls to Plaintiff.

18. Plaintiff did not expressly consent to Defendant’s placement of
telephone calls to his telephone by the use of a pre-recorded or artificial voice prior
to Defendant’s placement of the calls.

19. Defendant did not consult With its client at any time before making
calls to Plaintiff to determine if there Was express consent to call his telephone.

20. Defendant’s telephone calls Were not placed for “emergency
purposes,” as specified in 47 U.S.C. § 227(b)(1)(A).

21. On frequent occasions When speaking With Defendant’s collectors,
Plaintiff routinely demanded that Defendant send a letter of validation of the
alleged debt, as he disputed owing it.

22. Despite the request, Plaintiff never received anything in Writing from
Defendant regarding this debt or setting forth his rights pursuant to the FDCPA.

23. Upon information and belief, Defendant does not send initial letters
to consumers advising them of their rights, as required by the FDCPA.

24. Defendant’s actions as described herein Were made With the intent to

 

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Case 8:13-cv-01011-.]VS-AN Document 1 Filed 07/05/13 Page 5 of 9 Page |D #:6

harass, abuse, and coerce payment from Plaintiff.

COUNT I
DEFENDANT VIOLATED § 1692d ()F THE
FAIR DEBT COLLECTION PRACTICES ACT
25. Section 1692d of the FDCPA prohibits debt collectors from engaging
in any conduct the natural consequence of Which is to harass, oppress or abuse any
person in connection With the collection of a debt.
26. Defendant violated § 1692d of the FDCPA When it called Plaintiff

repeatedly and continuously, When it called Plaintiff late at night, and When it

engaged in other harassing and abusive conduct.

COUNT II
DEFENDANT VIOLATED § 1692d(5) OF THE
FAIR DEBT COLLECTION PRACTICES ACT
27. Section 1692d(5) of the FDCPA prohibits debt collectors from
causing a telephone to ring or engaging any person in telephone conversation
repeatedly or continuously With the intent to annoy, abuse or harass any person at
the called number.

28. Defendant violated § 1692d(5) of the FDCPA When it caused

Plaintiff’ s telephone to ring repeatedly and continuously With the intent to harass

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Case 8:13-cv-01011-.]VS-AN Document 1 Filed 07/05/13 Page 6 of 9 Page |D #:7

COUNT III
DEFENDANT VIOLATED § 1692f OF THE
FAIR DEBT COLLECTION PRACTICES ACT
29. Section 1692f of the FDCPA prohibits debt collectors from using
unfair or unconscionable means to collect or attempt to collect an alleged debt.
30. Defendant violated § 1692f of the FDCPA When it called Plaintiff

repeatedly and continuously, When it failed to send anything in Writing to Plaintiff

setting forth his rights, and When it engaged in other unfair conduct.

COUNT IV

DEFENDANT VIOLATED § 1692g(a) OF THE

FAIR DEBT COLLECTION PRACTICES ACT

31. Section 1692g(a) of the FDCPA states that Within five days after the
initial communication With a consumer in connection With the collection of a debt,
a debt collector shall send the consumer a Written notice containing the amount of
the debt, the name of the creditor to Whom the debt is owed, the manner in Which
to dispute the debt, and that if the debt is disputed, that the debt collector Will
obtain verification of the debt, and Will provide information to Plaintiff on how to
dispute the debt.

32. Defendant violated § 1692g(a) of the FDCPA When it failed to

provide any Writteii notification or any information in Writing to Plaintiff in regards

 

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to the alleged debt Within five days (5) of its initial contact With the Plaintiff,

including how to dispute the debt or obtain Verification of the debt, in violation of

the FDCPA.

COUNT V
DEFENDANT VIOLATED THE
ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
33. Section 1788.17 of the California Civil Code mandates that every debt
collector attempting to collect a consumer debt shall comply With § 1692b through
§ 1692j of the FDCPA.
34. Defendant violated Cal. Civ. Code § 1788.17, When it violated the

FDCPA for the reasons set forth in this Complaint.

COUNT VI
DEFENDANT VIOLATED THE TELEPHONE CONSUMER
PROTECTION ACT
35. Section 227(b)(3 )(A) of the TCPA authorizes a private cause of action
for a person or entity to bring in an appropriate court of that state “an action based
on a violation of this subsection or the regulations prescribed under this subsection
to enjoin such violation.”

36. Section 227(b)(3)(B), of the Act authorizes a private cause of action

for a person or entity to bring in an appropriate court of that state “an action to

 

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Case 8:13-cv-01011-.]VS-AN Document 1 Filed 07/05/13 Page 8 of 9 Page |D #:9

recover for actual monetary loss from such a violation, or to receive $500 in
damages for each such violation, whichever is greater.”

37. Defendant repeatedly placed non-emergency calls to Plaintiff without
Plaintiff s consent.

38. The Act also authorizes the Court, in its discretion, to award up to
three (3) times the actual damages sustained for violations.

39. Here, Defendant repeatedly and regularly placed non-emergency,
automated calls to Plaintiff using a pre-recorded or artificial voice.

40. Defendant called Plaintiff dozens of times.

41. Defendant did not have Plaintiff’ s expressiconsent prior to contacting
him using an automatic telephone dialing system or pre-recorded or'artificial voice.

42. Defendant’s conduct violated § 227(b)(1)(A)(iii) of the TCPA by
making any call using any automatic telephone dialing system or an artificial

prerecorded voice to a telephone number assigned to a cellular telephone service.

WHEREFORE, Plaintiff, ROY OLIVER, respectfully prays for a judgment
as follows:

a. Actual Damages;
b. Statutory damages under the FDCPA and RFDCPA;
c. Reasonable attorney’s fees and costs; and

d. Any other relief deemed appropriate by this Honorable Court.

 

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Case 8:13-cV-01011-.]VS-AN Document 1 Filed 07/05/13 Page 9 of 9 Page |D #:10

DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff, ROY OLIVER demands a jury trial

in this case.

RESPECTFULLY SUBMITTED,

DATED: July 2, 2013

 

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Ambler, PA 19002

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Attorney for Plaintiff

 

 

 

